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                                         EXHIBIT LIST

Style: Cheryl Compton et al v. St. Louis Board of Police Commissioners et al
                      Case Number: 4:11cv01975 CEJ


π EX   Δ EX    ID
              DATE
                        BY
                       (W #)
                               OBJ.
                               TO
                                      SUSTAINED/
                                      OVERRULED
                                                           DESCRIPTION             DATE
                                                                                  ADMITTED
 NO.    NO.

         A    11-11-    1                                City of St. Louis Plan
                11




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            X EXHIBITS RETURNED TO COUNSEL                 EXHIBITS RETAINED BY COURT
   π = plaintiff Δ = defendant   ID = first date exhibit is used W# = first witness to ID exhibit

            OBJ = Objection write “ Obj” in red    ADMITTED = use U and date
